Case 2:05-Cr-20273-BBD Document 11 Filed 08/05/05 Page 1 of 2 Page|D 12

Fiti€=i) ,.
IJNITED sTATEs DISTRICT coURT " ‘ ' `~’""
WESTERN DISTRICT oF TENNESSEE 05 AUG -5 PH 3.
Western Division ' l 9

UNITED STATES OF AMERICA

 

-vs- ease No. 2:05cri0273-D

GENE LEACH
AfK/A EUGENE LEACH

 

ORDER OF DETENT|ON PEND|NG TR|AL
FIN D|NGS
ln accordance with the Bail Reforrn Act, 18 U.S.C. § 3142(£), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DIRECTIONS REGARDING DETENT!ON

GENE LEACH A/KJA EUGENE LEACH is committed to the custody of the Attomey General or his
designated representative for confinement in a corrections facility separatc, to the extent practicable, from persons
awaiting or serving sentences or being held in custody pending appeal. GENE LEACH A/K)'A EUGENE LEACH
shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a Court of the
United States or on request of an attorney for the government, the person in charge of thc c c ctions facility shall
deliver the Defendant to the United States marshal for the purpose of an appearance ' » ~ with a Court
proceeding

 

Date: August 5, 2005

 

v

' iU M. PHAM
UNITED sTATEs MAGISTRATE JUDGE

This document entered on the docket set in co pltance
with acts ss and/or az(b} Fach on 3 ’X 0

 

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number ll in
case 2:05-CR-20273 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

FPD

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

